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                     Exhibit 18
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441 G St. N.W.
Washington, DC 20548


          April 8, 2025

          Russell T. Vought
          Director
          Office of Management and Budget

          Dear Mr. Vought,

          The purpose of this letter is to address issues that have come to the attention of the
          Government Accountability Office (GAO) regarding the decision of the Office of
          Management and Budget (OMB) to remove the website that made apportionments
          available publicly. This is very concerning because of the potential implications for
          review of such records for federal audits, congressional oversight, specifically with
          regard to Congress’s power of the purse.

          We understand that OMB took down the website taking the position that it requires
          the disclosure of predecisional, and deliberative information. We disagree.
          As apportionments are legally binding decisions on agencies under the
          Antideficiency Act, we note that such information, by definition, cannot be
          predecisional or deliberative. See 31 U.S.C. § 1517. OMB also noted that
          apportionments may contain sensitive information which, if disclosed publicly
          automatically, may pose a danger to national security and foreign policy. While
          there may be some information that is sensitive if disclosed publicly, it is certainly not
          the case that all apportionment data meets that standard. Where there is such
          sensitive data that should be protected from public disclosure, those would be the
          exception and should not serve to take down the entire database. We remain
          committed to engaging with OMB and accommodating situations where sensitive
          data should not be posted publicly but be made available as required for
          congressional oversight and federal audits.

          Moreover, there is a statutory requirement for OMB to post the apportionment data
          on a public website. Financial Services and General Government Appropriations
          Act, 2023. Consolidated Appropriations Act, 2023, Pub. L. No. 117-328, §204, div.
          E, tit. II, 136 Stat. 4667 (Dec. 9, 2022).

          As you know, apportionments are a critical part of the legal framework, anchored in
          the Antideficiency Act, that helps to ensure the responsible use of taxpayer dollars
          as well as to protect Congress’s power of the purse. Apportionments help achieve
          both of these worthy goals by requiring the President and OMB to apportion, or sub-
          divide, fixed-year appropriations to executive branch agencies. The apportionment
          system is intended to achieve the effective and orderly use of taxpayer dollars, and
          assist government officials and employees of the executive branch so that they do
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 not over-obligate or over-expend them and create the need for supplemental or
 deficiency appropriations. Where officials or employees obligate or expend in
 excess of apportionments, they violate the Antideficiency Act, and agencies are
 required to report such violations to the President, Congress, and GAO.

 Apportionment transparency facilitates oversight of federal spending. Because
 apportionments bind agencies as to both how and when appropriations may be
 obligated or expended, they provide invaluable insight into agency funding
 decisions. Apportionments also provide helpful context for GAO examinations of
 agency compliance with statutes such as the Antideficiency Act and Impoundment
 Control Act.

 GAO has a number of on-going Impoundment Control Act inquiries and engagement
 work, many of which rely on apportionment data. GAO asks that OMB reinstate this
 apportionment data, consistent with the law and OMB and GAO’s responsibilities to
 protect any information deemed by OMB to be sensitive. If OMB does not reinstate
 this apportionment data, please be aware that GAO has a broad statutory right of
 access to apportionment data under 31 U.S.C. § 716 and will seek such
 apportionment data accordingly.

 As GAO continues its work regarding the Impoundment Control Act and other
 engagement work, it is essential that we retain access to this apportionment data.
 Congress and the American taxpayer depend on GAO to carry out Congress’s
 oversight responsibilities, specifically with regard to its power of the purse. I would
 appreciate your immediate attention to this matter.

 Sincerely,



 Edda Emmanuelli Perez
 General Counsel


 Cc: Mark Paoletta
 General Counsel
 Office of Management and Budget

 Cc: The Honorable Susan Collins
 Chair
 Committee on Appropriations
 United States Senate




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 Cc: The Honorable Patty Murray
 Vice Chair
 Committee on Appropriations
 United States Senate

 Cc: The Honorable Lindsey Graham
 Chairman
 Committee on the Budget
 United States Senate

 Cc: The Honorable Jeff Merkley
 Ranking Member
 Committee on the Budget
 United States Senate

 Cc: The Honorable Tom Cole
 Chairman
 Committee on Appropriations
 House of Representatives

 Cc: The Honorable Rosa DeLauro
 Ranking Member
 Committee on Appropriations
 House of Representatives

 Cc: The Honorable Jodey Arrington
 Chairman
 Budget Committee
 House of Representatives

 Cc: The Honorable Brendan Boyle
 Ranking Member
 Budget Committee
 House of Representatives




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